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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

GREGORY COLE and ANNIE
SHIELDS, on behalf of themselves
And all others similarly situated,

                          Plaintiffs,                     Case No. 2:16-cv-10642

V.                                                        Hon. Sean F. Cox

MARATHON PETROLEUM COMPANY LP,

                     Defendant.
________________________________________________
           STIPULATED ORDER FOR STAY OF PROCEEDINGS

      This matter, having come before the Court on the parties’ stipulation, and

the Court being fully advised in its premises:

      IT IS HEREBY ORDERED that all proceedings in this case shall be

stayed for a period of fourteen (14) days from the date of this Order while the

parties negotiate a stipulated order of dismissal. If the parties do not submit a

stipulated order of dismissal within fourteen (14) days of the date of the Order, the

stay of proceedings will be lifted. The parties shall exchange initial disclosures

pursuant to Fed. R. Civ. P. 26(a) and commence class discovery seven (7) days

after the stay of proceedings is lifted. All other dates set forth in the Initial

Scheduling Order (ECF 65) shall remain unchanged.
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         IT IS SO ORDERED.

Dated: October 18, 2018                  s/Sean F. Cox
                                         Sean F. Cox
                                         U. S. District Judge


STIPULATED AS TO FORM AND CONTENT:


/s/Alyson Oliver (With Consent)          /s/Amy M. Johnston
Alyson Oliver (P55020)                   Amy M. Johnston (P51272)
OLIVER LAW GROUP P.C.                    MILLER CANFIELD
1647 W. Big Beaver Rd.                   150 W. Jefferson Avenue, Ste. 2500
Troy, MI 48084                           Detroit, MI 48226-4415
(248) 327-6556                           (313) 963-6420
Attorneys for Plaintiffs                 Attorneys for Defendant

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